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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

SCOTT A. ELLIOTT, et al.,                            )
                                                     )
                       Plaintiffs,                   )
                                                     )       Case No. 15-cv-650
       v.                                            )
                                                     )       Judge Charles R. Norgle, Sr.
MISSION TRUST SERVICES, LLC, et al.,                 )
                                                     )       Magistrate Judge Jeffrey N. Cole
                               Defendants.           )

            MISSION PARTIES’ MOTION FOR PARTIAL REFERRAL TO A
           MAGISTRATE JUDGE PURSUANT TO LOCAL RULES 72.1 AND 73.1

       Defendant/Counter-Plaintiff Mission Trust Services, LLC (“MST”) and Defendant

Christopher C. Finlay (collectively, the “Mission Parties”), through their undersigned counsel

and pursuant to Local Rules72.1 and 73.1, hereby move this Court to refer all discovery matters

in this case to Magistrate Judge Cole. In support of this motion, the Mission Parties state as

follows:

       1.       Plaintiffs brought the underlying action (13-cv-07770) seeking a declaratory

judgment and injunctive relief regarding their rights as beneficiaries of the Mission Millbrook

DST, a Delaware statutory trust. MST filed a Counterclaim based on Plaintiffs’ wrongful actions

asserting claims for, inter alia, breach of contract; breach of common law, statutory and/or

fiduciary duties; defamation of MTS; and tortious interference with a valid contractual

relationship or business expectancy.

       2.       The Mission Defendants have been conducting discovery related to the

Counterclaim.
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       3.      That discovery has included attempting to take the deposition of non-party David

Weiland, who resides in Texas. Specifically, the Mission Defendants properly served a

subpoena on Weiland, requiring him to appear for a deposition in Texas.

       4.      On October 28, 2014, Weiland filed a Motion for Protective Order and Motion to

Quash Subpoena to Testify at Deposition (“Weiland Motion”) in the U.S. District Court for the

Western District of Texas, Austin Division, seeking to quash the subpoena served upon him.

       5.      The Mission Defendants thereafter moved the District Court in Texas to transfer

that motion to this Court. The motion to transfer was granted. The Mission Defendants then

moved to have that case reassigned to Judge Norgle as being related to the underlying case and

that motion was also granted. This case involves the Wieland motion to quash.

       6.      Discovery matters in the underlying case have been referred to Magistrate Judge

Cole. See 13-cv-07770, docket nos. 94 and 158. Judge Cole is intimately familiar with the

history and proceedings regarding discovery in the underlying case.

       7.      It would serve the purposes of efficiency, consistency and judicial economy to

also refer discovery matters in this matter to Magistrate Judge Cole.

       WHEREFORE, the Mission Defendants request that this Court enter an order referring

all discovery matters in this case to Magistrate Judge Cole.


                                             Respectfully submitted,


                                             /s/ James D. Adducci
                                             One of the attorneys for defendants, Mission Trust
                                             Services, LLC and Christopher C. Finlay




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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Notice of Motion and Mission Parties’
Motion for Partial Referral to a Magistrate Judge Pursuant to Local Rules 72.1 and 73.1 was
served by CM/ECF this 17thth day of February, 2015, upon:

                             James Hampton Skelton
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                                            /s/ James D. Adducci




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